  Case 4:22-cv-05502-DMR   Document 295-33   Filed 01/02/25   Page 1 of 4




                            EXHIBIT BB

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
Case 4:22-cv-05502-DMR   Document 295-33   Filed 01/02/25   Page 2 of 4
Case 4:22-cv-05502-DMR   Document 295-33   Filed 01/02/25   Page 3 of 4
Case 4:22-cv-05502-DMR   Document 295-33   Filed 01/02/25   Page 4 of 4
